                                                 United States District Court
                                                 SOL"THERN DISTRICT OF CALIFORNIA
 Edwin Williams, individually and on behalf of all others
 similarly situated,
                                                                Plai nt iff,
                                                                                        Case No.           3:21 -cv-01646-L-BLM

                                                       V.                         PRO H AC V ICE APPLICATION
 Zeeto, LLC, a Delaware limited liability company,
                                                             Oefen d an t.                Edwin Williams, Plaintiff
                                                                                       l'ilrt)· Repn~sented


1,         Stephen A. Klein                                            hereby petition the above entitled court to permit me
                               (1\ ppl1c:a11()

k• appear and partic ipate in thi s case and in support of petition state:

            My fi rm name:          Woodrow& Peluso, LLC

            Street address:         3900 E. Mexico Ave., Suite 300

            Ci ty. Stale. 71P: Denver, CO 80210
                              ----------------------------------
            Phone number: (720) 907-4654
            Email:                    sklein@woodrowpeluso.com

           ·1halon        111512018               I was adm itted to practice before                State of Colorado
                        ---(f-),-llc--
                                     ·, - - -                                                   - - - - - -\~K-.,-,11-,- ~
                                                                                                                         01-1-n-t11=
                                                                                                                                   ·1,- - - - -


           and am currently in good standing and elig ible to practice in sa id court,
           that I am not currently suspended or disbarred in a ny other court, and
           that I D have)            GJ have 1wt) crn11:urr~:n tly or \\'ithin the year preceding this appl icatilrn made
           any pro hac vice application to this court.
                                         t If prc\'ious appl ica tion made, complete till' follow ing)

liHt '?lJ~tiWt1cr- - - - - - - - - - - - - - - - - - - - Date of Application - - - - - - - -
Application:         D (i-ranted             D Deni ed
            I declare under penal ty of perju ry that the forego ing is true and correct.
                                                                                          Isl Stephen Klein
                                                                                                           \ ..,,snacurc l'I \ pp l,canll

                                             DESIGNATION OF LOCAL COU NSEL
I hereby designate the be low named as associate loca l cou nsel.
 Michael Robert Lozeau                                                                  (510) 836-4200
(Na111c)                                                                               ( I d ephnnc;

     Lozeau Drury LLP
(F,nn)


     1939 Harrison Street, Suite 150                                                   Oakland                                                94612
                                                                                                                                            (/i r, co de)


                                                                                         Isl Stephen Klein
                                                                                       !::>ignatur-: or Appl icanti

I hereby consent to the above designation.                                               Isl Michael R. Lozeau
Pro Hae Vice (For this one particular occasion)

An attorney who is not a member of the California State Bar, but who is a member in good standing of,
and eligible to practice before, the bar of any United States court or of the highest court of any State or
of any Territory or Insular possession of the United States, who is of good moral character, and who has
been retained to appear in this Court, be permitted to appear and participate in a particular case. An
attorney is not eligible to practice pursuant to this paragraph if any one or more of the following apply
to him/her: (1) he/she resides in California, (2) he/she is regularly employed in California, or (3) he/she
is regularly engaged in business, professional, or other activities in California.

The pro hac vice application shall be presented to the Clerk and shall state under penalty of perjury
(1) the attorney's residence and office address, (2) by what court he/she has been admitted to practice
and the date of admission, he/she is in good standing and eligible to practice in said court,
(4) that he/she is not currently suspended or disbarred in any other court, and (5) if he/she has
concurrently or within the year preceding his/her current application made any pro hac vice application
to this court, the title and the case number of each matter wherein he made application, the date of
application, and whether or not his/her application was granted. He/She shall also designate in his
application a member of the bar of this Court with whom the Court and opposing counsel may readily
communicate regarding the conduct of the case and upon whom papers shall be served. He/She shall
file with such application the address, telephone number and written consent of such designee.

Fee: $213.00

If application and fee require submission via U.S. Mail, please contact:

                                                      CASD Attorney Admissions Clerk
                                                      (619) 557-5329



The pro hac vice application for Stephen A. Klein representing Edwin Williams is hereby:




 APPROVED for filing                             
                                                  X DENIED

Date.                                            It is so ordered.
